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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

BPP,                                                )
                                                    )
                       Plaintiff,                   )
                                                    )
v.                                                  )      Cause No.
                                                    )
HENRY SCHEIN, INC. and                              )
INTERGRATED MEDIA SOLUTIONS d/b/a                   )
INTERGRATED MEDIA SOLUTIONS, LLC                    )
and d/b/a DENTAL PRODUCTS SHOPPER                   )
                                                    )
                       Defendants.                  )


                                     NOTICE OF REMOVAL

        Defendant Henry Schein, Inc. (“Henry Schein”), by its undersigned counsel, pursuant to

28 U.S.C. §§ 1331, 1441, and 1446, hereby removes the state court civil action known as BPP v.

Henry Schein, Inc. and Intergrated Media Solutions d/b/a Intergrated Media Solutions, LLC and

d/b/a Dental Products Shopper from the Circuit Court of St. Louis County, Missouri (Cause No.

17SL-CC01069), to the United States District Court for the Eastern District of Missouri, Eastern

Division, and states as follows:

                                          Introduction

        1.     On March 22, 2017, Plaintiff BPP (“BPP”) originally filed its Petition in the

Circuit Court of St. Louis County, Missouri. A copy of the state court file is attached hereto as

Exhibit A; a Civil Cover Sheet is attached as Exhibit B.

        2.     On March 22, 2017, BPP completed service on Henry Schein.

        3.     On March 29, 2017, BPP completed service on co-defendant Intergrated Media

Solutions d/b/a Intergrated Media Solutions, LLC and d/b/a Dental Products Shopper (“IMS”).



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        4.     As set forth more fully below, this case is properly removed to this Court pursuant

to 28 U.S.C. § 1441 because Henry Schein has satisfied the procedural requirements for removal

and this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331.

                                       Grounds for Removal

I.      Henry Schein Has Satisfied the Procedural Requirements for Removal.

        5.     As indicated above, Henry Schein was served with the Petition on March 22,

2017 when the summons and petition were received by Henry Schein. This Notice of Removal

is timely filed under 28 U.S.C. § 1446(b) because Henry Schein is filing it within 30 days of its

receipt of the initial pleading setting forth the claim for relief upon which such action is based,

and within 30 days after service of process was achieved on Henry Schein.

        6.     Venue is proper in this division of the Court because this division embraces St.

Louis County, Missouri, where BPP’s action was filed. See 28 U.S.C. §§ 1441 and 1446(a).

        7.     This matter involves an original proceeding as reflected on the Original Filing

Form attached hereto as Exhibit C.

        8.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal, together with

all exhibits, is being served on BPP’s counsel; in addition, a Notice to Plaintiff and to State Court

of Filing Notice of Removal will be electronically filed in the Circuit Court of St. Louis County,

Missouri, attaching the Notice of Removal (without exhibits) as an exhibit. A copy of the Notice

to Plaintiff and to State Court of Filing Notice of Removal that will be electronically filed in the

Circuit Court of St. Louis County, Missouri is attached hereto as Exhibit D.

        9.     After the Notice to Plaintiff and to State Court of Filing Notice of Removal is

officially deemed “ACCEPTED” by the state court clerk (a process that is sometimes delayed by




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one or more business days), a copy of the Notice to Plaintiff and to State Court of Filing Notice

of Removal showing the electronic file-stamp will be filed in this Court, without the exhibit.

II.      Removal Is Proper Because This Court Has Subject Matter Jurisdiction.

         10.      United States District Courts are vested with jurisdiction to consider cases or

controversies “arising under” the laws of the United States of America. See 28 U.S.C. § 1331.

         11.      Removal of such cases is governed by 28 U.S.C. § 1441(a). Section 1441(a)

provides that “any civil action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed by the defendant or the defendants, to the

district court of the United States for the district and division embracing the place where such

action is pending.” See 28 U.S.C. § 1441(a).

         12.      Here, BPP’s Petition purports to assert a claim against Henry Schein for alleged

violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”). See

Petition, p. 1.

         13.      Because BPP’s Petition alleges violations of a federal statute—the TCPA—BPP’s

claims “arise[] under” the laws of the United States. See 28 U.S.C. § 1331. Therefore, this

Court may properly exercise jurisdiction over BPP’s TCPA claim.

         14.      Because the requirements for federal question jurisdiction are satisfied, this Court

has subject matter jurisdiction and this case is properly removed.

         15.      A corporate disclosure statement will be separately filed.

III.        Co-Defendant IMS Consents to the Removal of this Action

         16.      Co-Defendant IMS consents to Defendant Henry Schein’s removal of this action

as reflected in the Consent to Removal attached hereto as Exhibit E.




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        WHEREFORE, Defendant Henry Schein hereby removes the state court civil action

known as BPP v. Henry Schein, Inc. and Intergrated Media Solutions d/b/a Intergrated Media

Solutions, LLC and d/b/a Dental Products Shopper from the Circuit Court of St. Louis County,

Missouri (Cause No. 17SL-CC01069), to the United States District Court for the Eastern District

of Missouri, Eastern Division, and respectfully requests that this Court retain jurisdiction for all

further proceedings in this matter.




                                              SANDBERG PHOENIX & von GONTARD P.C.

                                              /s/ Timothy C. Sansone
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                                              Attorneys for Defendant Henry Schein, Inc.



                                      Certificate of Service

        I certify that on April 21, 2017, a copy of this document was filed electronically with the
Clerk of this Court; in addition, a copy was sent by via first-class U.S. Mail, postage prepaid, to
the following counsel:

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